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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.                                    Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,

                                Defendant.


                         GOVERNMENT’S THIRD NOTICE
                   REGARDING REPORT OF THE SPECIAL COUNSEL

       The United States of America submits this notice to the Court regarding the Special

Counsel’s confidential report to the Attorney General.

       In two prior notices, the government advised the Court of plans to make available for

review by a limited number of Members of Congress and their staff a copy of the Special Counsel’s

Report without certain redactions.    The Justice Department carried out those plans.        The

Department first made available a minimally redacted version of the Report to a limited number

of congressional leaders under conditions that would protect against further dissemination of the

minimally redacted Report. The Department then made available a minimally redacted version of

Volume One of the Report to Members and a limited number of staff from the House Permanent

Select Committee on Intelligence and the Senate Select Committee on Intelligence. The minimally

redacted Report maintained redactions only for grand-jury material, which is protected from

disclosure by Federal Rule of Criminal Procedure 6(e).

       The Department now intends to make Volume Two of the minimally redacted Report

available for review in a secure space by House Judiciary Committee Members and a limited

number of Committee staff members from each of the majority and minority. This copy of Volume

Two of the Report will include in unredacted form information related to this case. Members and

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staff authorized to review the report will be permitted to take notes, provided those notes are

properly secured, and they will be permitted to discuss the report only among themselves. The

Department has advised the Committee that the Department expects the Committee and staff to

strictly maintain the confidentiality of any information contained in the report and to use that

information only for Committee purposes. The Department has also advised the Committee that

none of the material that was redacted in the public version of the report that now will be available

to the Committee—including information related to this case—may be revealed publicly or to

others not authorized by the Department to have it without prior consent of the Department. The

Department plans to make the minimally redacted version of Volume Two of the report available

under the same conditions to the Members and limited staff of the Senate Judiciary Committee.

       The government believes that this arrangement does not violate either Local Criminal Rule

57.7 or the Court’s orders regarding extrajudicial statements. By providing minimally redacted

copies of Volume Two of the report for review by Committee Members and limited staff in a

secure space, and by further restricting dissemination of the material, the Department is not making

a statement about this case “in public settings.” Doc. 36, at 3. Nor is the Department “authoriz[ing]

the release of information or opinion which a reasonable person would expect to be disseminated

by means of public communication.” Local Crim. R. 57.7(b)(1). Nevertheless, in an abundance

of caution, the government is advising the Court of its intended course of action.


                                      Respectfully submitted,

                                      JESSIE K. LIU
                                      U.S. Attorney for the District of Columbia

                                      By:    /s/
                                      Jonathan Kravis
                                      Michael J. Marando
                                      Assistant United States Attorneys

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Dated: June 14, 2019




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